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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION




MARCUS BAKER, individually and on behalf of    Case No. 2022-cv-6924
all others similarly situated,
                                               Hon. Manish S. Shah
                          Plaintiff,
                                               Magistrate Judge Jeffrey Cole
                     v.

MATCH GROUP, INC., et al.

                             Defendants.




              PLAINTIFF’S OPPOSITION TO DEFENDANTS’
        MOTION TO RECONSIDER THIS COURT’S MAY 31, 2023 ORDER
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                                        INTRODUCTION

         Defendants1 ask this Court to abandon a well-reasoned decision because they regret the

result of their own litigation decisions. Defendants seek reconsideration of the Court’s correctly

decided May 31, 2023 Order2 neither on the basis of newly-discovered facts nor because the

controlling law has changed. Instead, Defendants contend that this Court committed a manifest

error of law because it failed to account for arguments which Defendants could have made, but

knowingly elected not to make, in support of their original motion. Defendants’ dissatisfaction

with the result of its motion, and its belated presentment of arguments it failed to include in its

original motion (which lack merit in any event) are not valid bases for reconsideration.

Defendants’ motion should be denied.

                                         BACKGROUND

A.      Plaintiff’s Complaint, Prior Arbitration, and Removal
        Plaintiff Marcus Baker, together with thousands of other users of Defendants’ apps

(“Claimants”), seeks to vindicate his statutory rights under Illinois’ Biometric Information Privacy

Act (“BIPA”). Initially, as was required by the agreement Defendants foisted upon its users,

Claimants commenced arbitrations before JAMS. However, when faced with thousands of users

prepared to individually arbitrate their cases, Defendants sought to escape their arbitration

responsibilities by electing to proceed in small claims court pursuant to a clause in its arbitration

provision that provided for small claims court if it was a court with appropriate jurisdiction.

JAMS granted Defendants’ request, leaving Plaintiff and the other JAMS Claimants with the

choice of pursuing their claims before a tribunal they knew did not have jurisdiction, or seeking



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  The “Defendants” are Match Group, Inc., Match Group, LLC (“Tinder”), Hinge, Inc., Humor
Rainbow, Inc. (“OkCupid”), People Media, Inc., and Affinity Apps, Inc.
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  Dkt. No. 27, the “Order.”
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relief from a court which did. Claimants selected the forum actually empowered to grant them

relief.

          Accordingly, Plaintiff Marcus Baker, individually and on behalf of persons similarly

situated, filed his complaint in the Circuit Court of Cook County, Illinois, County Department,

Chancery Division on October 21, 2022. On or about December 9, 2022, Defendants removed the

case to this Court. On January 13, 2023, Defendants moved this Court for dismissal or transfer of

this action to the Northern District of Texas, based in part on the grounds of forum non conveniens.

Def. Mot. at 1, 68-12, 13-14. In opposition, Plaintiff argued that small claims court lacked

jurisdiction over the claims in the Complaint, a point which Defendants chose not to address in

their reply. Plaintiff’s Op. at 10-16.

B.        The Court’s May 31, 2023 Order
          On May 31, 2022, in a well-reasoned decision, this Court refused to dismiss Plaintiff’s

claims and send them to small claims court but granted Defendants’ motion to transfer the action

to the United States District Court for the Northern District of Texas. May 31, 2023 Order Denying

Defendants’ Motion to Dismiss (“Order”). This Court correctly determined that small claims court

was not an appropriate forum under the forum non conveniens inquiry Defendants advocated for

because neither Illinois nor Texas small claims courts have jurisdiction over the claims set forth in

Plaintiff’s complaint. Order at 4-9. Accordingly, small claims court was not an appropriate

alternative forum. However, because the relevant agreements designated the federal or state courts

of Dallas County, Texas, as the forum for claims that could not be properly brought in a small

claims court or heard by an arbitrator, the Court ordered this action transferred to the Northern

District of Texas. Order at 7-9.




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C.      Defendant’s Motion to Reconsider
        Defendants now move this Court for reconsideration of its May 31, 2023 Order, arguing

the Court “manifestly erred by (1) deciding the issue of small claims court jurisdiction instead of

leaving it for the small claims courts to decide, and (2) ruling that small claims courts lack

jurisdiction over Baker’s claims.” Def. Br. at 1.

        Defendants argue that this Court had no jurisdiction to decide the small claims court’s

jurisdiction to hear the case and that Illinois small claims court does in fact have jurisdiction over

Plaintiffs’ claims, both arguments they could have made, but did not, in their original motion.

Defendants do not explain why they did not advance these arguments in the first place, much less

how this Court’s failure to consider them rises to the level of manifest error. In any event, these

belatedly raised arguments lack merit.

                                           ARGUMENT
I.      The Court Should Deny the Motion for Reconsideration Because It Did Not Commit
        Any Manifest Error of Law
        A.     Legal Standard
        “A motion to reconsider is only appropriate to ‘correct manifest errors of law or fact, to

present newly discovered evidence, or where there has been an intervening and substantial change

in the controlling law since the submission of the issues to the court.’” O’Connor v. Bd. of Educ.

of City of Chicago, No. 14-cv-10263, 2018 WL 11305168, at *1 (N.D. Ill. May 30, 2018) (quoting

Sperling & Slater, P.C. v. Hartford Cas. Ins. Co., No. 12 C 761, 2012 WL 6720611, at *2 (N.D.

Ill. Dec. 27, 2012)). Such motions should be granted only in rare circumstances, and a party

moving for reconsideration bears a heavy burden. Id. Such a motion “is not a vehicle for rearguing

previously rejected motions[.]” Oto v. Metro. Life Ins. Co., 224 F.3d 601, 606 (7th Cir 2000).




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        Defendant does not contend that any newly discovered evidence should be considered, or

that there has been any intervening change in law. Accordingly, the only issue to be decided is

whether this Court committed a manifest error of law or fact. As set forth below, it did not.

B.      This Court Was Empowered To Review The Jurisdiction, Availability, And
        Adequacy Of State And Small Claims Courts To Determine Defendants’ Motion.

        Defendants contend the Court committed a manifest error of law, in violation of the

Constitution’s case or controversy requirement, in deciding that small claims court did not have

jurisdiction over Baker’s claims, erroneously asserting that this routine inquiry into another

Court’s jurisdiction and capacity is barred by Article III’s case or controversy requirement.

Defendants’ unpreserved, circular argument is contrary to law.

         Defendants’ argument, first raised in their motion to reconsider, is that this Court’s

determination of the jurisdictional reach of state small claims courts was an impermissible advisory

opinion, because, they claim, such a determination cannot be made until a complaint, which might

differ from Plaintiffs’ Complaint here, is actually filed. Def. Br. at 2-3. There are several fatal

flaws in this tortured logic.

        Primarily, Defendants waived their argument about the jurisdictional reach of small claims

courts by not raising it in their original motion or reply brief. While some of their contentions

were considered and rejected by this Court, they offer no explanation for their failure to advance

this argument about jurisdictional reach in support of their original motion. “[A] motion for

reconsideration is an inappropriate medium to … revisit improvident strategic decisions made

earlier.” Alice F. v. Health Care Serv. Corp., No. 17-C-3710, 2019 U.S. Dist. LEXIS 236260 at

*3 (N.D. Ill. June 17, 2019) (citing Patrick v. City of Chi., 103 F. Supp. 3d 907, 912 (N.D. Ill.

2015) and Birdo v. Gomez 214 F.Supp 3d 709 (N.D. Ill. 2016)). Defendants’ failure to previously

raise this argument, without any excuse, constitutes waiver, and is not a valid basis for a motion

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for reconsideration. See, e.g., Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185,

1192 (7th Cir. 1990) (reconsideration inappropriate where movant is “merely an irresolute litigant

that was uncertain what legal theory it should pursue”). Hence, the Court should deny Defendants’

motion on waiver alone.

       However, to the extent the Court deems it appropriate to hear the argument, it is without

merit for two reasons. First, Defendants fundamentally misstate the issue. This Court was not

asked to construe and did not “under[take] to construe a hypothetical small claims complaint that

may never come to pass,” as Defendants would have it. (Def. Br. at 3). Rather, it was presented

with a motion to dismiss on forum non conveniens grounds and applied that judicial doctrine to

the specific, detailed set of non-hypothetical allegations in the form of Plaintiff’s actual complaint.

The Court correctly determined that it could not dismiss the action for forum non conveniens and

send the case to small claims court because the existing allegations presented claims that went far

beyond the jurisdiction of either Illinois or Texas small claims court. Order at 4-6. Defendants’

speculation that a hypothetical small claims complaint might “look very different from the one

Baker filed in this Court” is utterly irrelevant – that a different pleading might fall within the

jurisdiction of a small claims court does not change the fact that the allegations in the complaint

actually before this Court would not.

       Second, Defendants’ reliance on Basic v. Fitzroy Eng’g, Ltd., 949 F. Supp 1333 (N.D. Ill.

1996) is entirely misplaced. There, the court was asked to preemptively declare a judgment of a

foreign court null and void, where the foreign action had not even proceeded to the point of a

responsive pleading. Id. at 1337-38. In declining to do so, the court pointed out the multiple

contingencies inherent in the request – the foreign action would have to survive dismissal and

proceed to judgment, and that judgment would have to be accepted and domesticated by a United



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States court, before any actual harm would be suffered.          Id. at 1338.    No such string of

contingencies exists here – the Court was faced only with the concrete question of whether small

claims courts in Illinois or Texas had jurisdiction to hear Plaintiff’s extant, articulated claims. As

the Court correctly found, they do not.

       Indeed, the jurisdictional analysis performed by the Court in its Order was not only

permitted, but routine in a forum non conveniens analysis. As the Court noted, “comity principles

don’t bar an inquiry into another court’s availability and adequacy under forum non conveniens.”

(Order at 6 n.5 (citing Instituto Mexicano del Seguro Social v. Zimmer Biomet Holdings, Inc., 29

F.4th 351, 357 (7th Cir. 2022) (quoting Sinochem Int’l Co. Ltd. v. Malaysia Int’l Shipping Corp.,

549 U.S. 422, 432 (2007))).)

       Moreover, such an inquiry is not only permitted, it is required. Dismissal on the grounds

of forum non conveniens is warranted only “when an alternative forum has jurisdiction to hear the

case.” Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 (1981); see also Iac/Interactivecorp v.

Roston, 44 F.4th 635, 645 (7th Cir. 2022) (“When applying forum non conveniens,” even where a

forum selection clause exists, “district courts must . . . determine[e] . . . whether there is an

available adequate alternative forum.”) (emphasis added). Defendants’ circular assertion that

making this required determination runs afoul of Article III would undermine the entire doctrine.

       Atlantic Marine Constr. Co., Inc. v. U.S. Dist. Ct. for the Western Dist. Of Texas, 571 U.S.

49 (2013) – which was decided a decade ago – is not a basis for reconsideration and, in any event,

does not require a different result. Even post-Atlantic Marine, a forum selection clause that

designates “courts [that] do not have jurisdiction over the Plaintiffs’ claims,” are not contractually

valid and cannot be enforced. Jackson v. Payday Fin., LLC, 764 F.3d 765, 782 (7th Cir. 2014).

Further, where parties seeking dismissal in favor of such a forum “have not established a colorable



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claim” that jurisdiction exists, the issue of jurisdiction need not be submitted to the proffered forum

in the first instance. Id. at 768, 783.

        Accordingly, this Court has already done everything Atlantic Marine requires. It first

evaluated whether the clause in question was “contractually valid” in this circumstance, 571 U.S.

at 62, an analysis which necessarily required it to determine whether the small claims courts urged

by Defendants “have subject matter jurisdiction over the Plaintiffs’ claims.” Jackson, 764 F.3d at

786. Because they did not, the Court moved to the alternate forum specified in the parties’

contracts, “the federal or state courts of Dallas County, Texas,” and expressly subjected them to

the analysis mandated by Atlantic Marine. (Order at 7-8 (citing Atlantic Marine, 571 U.S. at 63).

Once again, Defendants attempt to portray their own dissatisfaction with the result of this analysis

as this Court’s failure to do something it clearly (and correctly) already did.

C.      This Court Correctly Evaluated the Parties’ Agreement to Delegate in Determining
        That Small Claims Court is an Improper Forum for Plaintiff’s Claims

        Defendants incorrectly argue that this Court “did not consider that Baker’s ADR

Agreement . . . delegates the question of small claims court jurisdiction to small claims courts

themselves.” Def. Br. At 3 et seq. To the contrary, Defendants made the same argument in support

of their motion, (Def. Reply Br. at 15-16) which was correctly rejected.

        As this Court noted in rejecting Defendants’ “argue[ment] that the small claims courts

should decide their own jurisdiction,” and as discussed in detail above, comity principles permit,

and indeed require, this Court to determine whether a proposed alternate forum has jurisdiction.

In addition to the general principles of forum. non conveniens, this Court further correctly held

that “[a]n arbitration agreement cannot require a party to forgo substantive statutory rights.”

(Order at 7 (citing Vega v. New Forest Home Cemetery, LLC, 856 F.3d 1130, 1133 (7th Cir. 2017)).

Accordingly, this Court considered and rejected Defendants’ argument concerning the delegation

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clause. Having so determined, this Court correctly recognized that the relevant agreement provides

an alternative forum which would have jurisdiction, the District Court in Texas, and properly

enforced the parties’ agreement by sending this action there. (Order at 7-8.) Defendants have

offered nothing new to alter the Court’s determination.

D.     The Court Did Not Manifestly Err in its Treatment of JAMS’ Administrative Closure
of Plaintiffs’ Arbitrations

         In arguing that this Court erred by “not enforcing the JAMS Order,” Defendants

mischaracterize the prior proceedings before JAMS, the scope and import of JAMS’

determination, and the nature of this Court’s Order.

         At issue before JAMS was the effect of Defendants’ purported “election to litigate these

claims in small claims court.” In determining that Defendants’ election required JAMS to

administratively close Defendants’ file, JAMS explicitly stated that it had not and would not

independently evaluate whether small claims court actually had jurisdiction over Plaintiff’s (and

the other Claimants’) claims. Rather, it noted that the parties’ agreement included “a contractual

‘exception’ to a JAMS arbitration. If these. disputes may proceed in small claims court, then

JAMS has no jurisdiction as a threshold matter, and [the JAMS rule] which affords the arbitrator

the authority to hear and decide jurisdictional . . . disputes does not apply.” Compl. Exh. J (final

page).

         Thus, JAMS did not find that small claims court had jurisdiction, or even that the parties’

contract required submission of the issue to small claims court in the first instance. The JAMS

decision was limited to whether JAMS had any jurisdiction to evaluate small claims jurisdiction

following Defendants’ election of small claims court. JAMS determined that it had no jurisdiction

to decide “if these disputes may proceed in small claims court,” and accordingly closed the

arbitrations. (Id. (emphasis added).) Obviously, JAMS’s determination did not, and could not, go

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further – it determined that the parties’ agreement required administrative closure upon invocation

of the small claims option, and that upon such invocation JAMS could not decide one way or the

other any issues regarding proper forum or jurisdiction. Id.

       Defendants now argue – by reference to authority and reasoning they could have raised in

their original motion but did not – that JAMS’s administrative decision closing Claimants’

arbitrations constituted a “binding step in the arbitral process” that this Court was required to

enforce. Def. Br. At 6-7. Again, however, a motion for reconsideration is not the appropriate

vehicle for Defendants to correct their own failure to develop an argument not raised on the original

motion. See Bank of Waunakee, 906 F.2d at 1192. This argument need not be considered at all.

       Should the Court nevertheless entertain Defendants’ argument, it clearly fails on its own

merits. Plaintiff has not asked the Court to do anything contrary to the JAMS order. Plaintiff has

simply sought to have the merits of his claims, at long last, heard before a forum possessing subject

matter jurisdiction over them.     More fundamentally, given JAMS’s finding that following

Defendants’ small claims election JAMS “has no jurisdiction,” there is no mandate contained in

the supposed JAMS “Order” for this Court to enforce. Ecf No. 1-1, Compl., Exh. J.

       Further, Defendants’ continued insistence on a forum that lacks jurisdiction once again

ignores the fallback provision in the forum selection clause they themselves drafted:

       Except where prohibited by law and except for claims that are heard in a small claims court
       as set forth in Section 15, any claims arising out of or relating to this Agreement, to the
       Service, or to your relationship with Tinder that for whatever reason are not required to be
       arbitrated or filed in small claims court, will be litigated exclusively in the federal or
       state courts located in Dallas County, Texas, U.S.A. You and Tinder consent to the
       exercise of personal jurisdiction of courts in the State of Texas and waive any claim that
       such courts constitute an inconvenient forum.

Ecf No. 1-1, Compl., Ex. E (Tinder Terms).




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        By this line of argument, Defendants ignore this language, and the lack of jurisdiction of

the small claims courts, for no reason other than the fact that JAMS declined to evaluate the issue

at all. Defendants should not be allowed to waste the time of the parties and the courts by forcing

Plaintiff to pursue claims before a tribunal not empowered to hear them. Jackson, 764 F.3d at 786.


III.    The Court Correctly Determined That Illinois Small Claims Court Could Not Hear
        Baker’s Claims

        Defendants next claim that this Court “incorrectly” determined that they “made no

argument as to why this case should be in small claims court” in support of their original motion.3

(Def. Br. at 9.) They then immediately admit that their purported arguments on this issue were

“incorporated [through] their letters to JAMS,” that they “did not repeat . . . the legal arguments

and case law” in their briefing, and that their decision not to express these arguments in their

briefing was strategic, borne from their incorrect position that “this Court lacks authority to

determine the small claims courts’” jurisdiction, and because of their decision to instead focus on

what they saw as a “threshold issue.” (Def. Br. at 9, 9 n.6 (emphasis in original).)

        But “[m]erely referencing arguments presented elsewhere is not sufficient to put those

arguments before the court, United States v. Macchione, 660 F. Supp. 2d 918, 926 (N.D. Ill. 2009),

and “a motion for reconsideration is an inappropriate medium to … revisit improvident strategic

decisions made earlier.” Alice F., 2019 U.S. Dist. LEXIS 236260 at *3 (N.D. Ill. June 17, 2019).

Thus, Defendants’ belated attempt to mount a substantive challenge in a “do over” now should be

rejected out of hand. A “district court [i]s not obliged to rescue [parties] from the consequences

of their dilatory conduct.” DeBruyne v. Equitable Life Assurance Soc., 920 F.2d 457, 471 (7th



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  Defendants have apparently abandoned their prior position that Texas small claims court could
hear Plaintiffs’ claims, advocating on reconsideration only for the jurisdiction of Illinois small
claims court.
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Cir. 1990) (superseded in part by statute on other grounds as recognized by Jajeh v. County of

Cook, 678 F.3d 560, 567 (7th Cir. 2012).

       Ultimately, however, even if this Court does consider Defendants’ unpreserved,

inappropriate arguments, the result is the same. As set forth below, these arguments also fail on

the merits, for the reasons articulated by this Court in its Order.

       A.      Small claims courts do not have jurisdiction to grant Plaintiff the relief he is
               entitled to under Illinois’ Biometric Information Privacy Act (“BIPA”)

               1.      The amount in controversy exceeds jurisdictional limit

       As explained in Plaintiffs’ opposition to Defendants’ original motion, and as recognized

by the Court, “Baker is seeking at least $20,000 in damages and injunctive relief.” Order at 6

(collecting record references). Per Ill. Sup. Ct. R. 281 small claims are “civil action[s] based on

either tort of contract for money not in excess of $10,000, exclusive of interest and costs.” Baker’s

claims are well above the jurisdictional threshold.

       Moreover, recently the Illinois Supreme Court ruled in Cothron v. White Castle Sys., Inc.,

2023 IL 128004, 2023 WL 2052410 (Ill., 2023) that a separate claim accrues under BIPA “each

time a private entity scans or transmits an individual’s biometric identifier or information in

violation of section 15(b) and 15(d).” See Id. at *1 (emphasis added). In Cothron, the plaintiff

alleged that her employer, White Castle Systems, Inc. (“White Castle”) violated Section 15(b),

among other BIPA sections, by failing to obtain her written consent before collecting her biometric

data. Id. Noting that White Castle first obtained her biometric data in 2008 and did not seek or

obtain her consent until 2018, the plaintiff alleged that a new BIPA claim accrued each time she

scanned her fingerprints and White Castle sent them to its third-party vendor without consent. The

Supreme Court agreed with the plaintiff and held that the plain language of the statute establishes

that BIPA is not limited to the “first time an entity scans a fingerprint or otherwise collects

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biometric information,” and instead, applies to “each and every capture and use of the plaintiff’s

fingerprint or hand scan.” Id. at *4-5. Therefore, BIPA allows for multiple and repeated accrual

of claims entitling Plaintiff to recover $1,000 to $5,000 for each BIPA violation. Since Plaintiff

uploaded multiple pictures to the sites, (see Compl. ¶204), he is entitled to exceedingly more than

two (2) intentional violations per defendant.

          Defendants’ counterargument on this point requires several unsupported leaps of logic. To

agree with Defendants, this Court must accept that:

(i)       BIPA’s $5,000 per-occurrence statutory remedy for intentional or reckless violations

          constitutes a remedy in the nature of punitive or exemplary damages, contrary to the plain

          language of the statute which speaks of “liquidated damages” (740 ILCS 14/20(2));

(ii)      BIPA’s simple requirement of an “intentional or reckless” violation, interpreted by this

          Court as merely requiring “a desire to cause consequences or . . . a substantially certain

          belief that the consequences will result,” (Rogers v. CSX Intermodal Terminals, 2019 WL

          4201570 at *4 (N.D. Ill. Sept. 5, 2019), instead requires pleading and proving “willful and

          wanton” conduct undertaken with “actual malice.” (Def. Br. at 12-13);

(iii)     The unpublished 1944 decision in Tomaso v. Sestak4 requires a small claims court to assess

          its jurisdictional limits on a claim-by-claim basis rather than the proper test, confirmed by

          subsequent authority – i.e., that “separate claims will be considered the same cause of

          action if they arise from a single group of operative facts.” Benson v. Abbot, 326 Ill. App.




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 Defendants correctly cited this decision in their original reply, but erroneously append “53 N.E.2d
754, 755” (a citation to the middle of Albright v. Jefferson County Nat’l Bank, a 1944 New York
Court of Appeals Decision) in their motion for reconsideration. They also append “(3d Dist.
2001)” to the citation, which is incorrect for both Tomaso and Albright. The correct citation for
Tomaso is 321 Ill. App. 363 (1st Dist. 1944), which Defendants attached at pages 9-13 of Dkt. No.
26-1.
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       3d 599, 600-01 (3d Dist. 2001) (noting that “the weight of authority does not favor” the

       reading of Tomaso that Defendants advance here); and

(iv)   Plaintiffs’ individual claims do not exceed $10,000, despite the pleadings themselves

       clearly requesting relief in excess of that amount. Ecf No. 1-1, Compl.

       Defendants’ position that the jurisdictional limit has not been exceeded can be accepted

only if liquidated damages are transformed into punitive damages, intentional acts are transformed

into malicious ones, and recent precedent is ignored in favor of unpublished opinions dating back

nearly eighty years. The Court should once again reject these arguments.

               2.      Small Claims Court Cannot Grant the Injunctive Relief Plaintiff
                       Requests Here

       As this Court properly recognized, “neither the small claims courts in Texas nor in Illinois

can issue . . . injunctive relief of the kind Baker seeks.” Order at 5 (emphasis added). While

Defendants note that Illinois small claims courts may be empowered to provide some limited forms

of injunctive relief, Defendants do not and cannot demonstrate that small claims courts can provide

large-scale injunctive relief of the kind requested by Plaintiff here. Plaintiff seeks a broad,

prospective injunction “including, inter alia, an order requiring Defendants to collect, store, use,

and share biometric identifiers or biometric information in compliance with BIPA, and

permanently destroy the biometric identifiers and biometric information that Defendants have

collected from Plaintiff and the Class.” (Dkt. No. 1-1 at 111.) Defendants’ authority purportedly

demonstrates that small claims courts may in limited circumstances grant various types of

unrelated “injunctive and equitable remedies ancillary to damages claims,” (Def. Br. at 10,) but

they provide no example of a small claims court providing forward-looking class-wide injunctive

relief or granting the type of statutory injunctive remedy explicitly authorized by BIPA. This is




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because, as set forth in Plaintiffs’ original opposition to Defendants’ motion to dismiss and as

correctly found by this Court, Illinois small claims court has no authority to grant such relief.

       The authorities cited by Defendants are not to the contrary. The unpublished opinion in

Lester Eugene Kenady Revocable Living Tr. v. Baker, 2014 IL App (4th) 131059-U, concerned

a request for declaratory relief as between two adjoining landowners permitting reasonable access

to make repairs to an easement. Van Walsen v. Blumenstock, 66 Ill. App. 3d 245 (5th Dist. 1978),

involved an order lifting a lien upon satisfaction of a money judgment, a remedy entirely ancillary

to the underlying monetary relief sought. Baron v. Hoholik, 2013 IL App (3d) 120096-U, another

unpublished opinion, comments without analysis that the plaintiff sought replevin of a wedding

ring in small claims court. Muir v. Merano, 378 Ill. App. 3d 1103 (5th Dist. 2008), was an action

for return of earnest money which found that a prospective buyer was entitled to terminate a

contract but resulted solely in a money judgment. Ahern v. Knecht, 202 Ill. App. 3d 709 (2d Dist.

1990), involved a small claims action where the small claims court determined that the prices

charged in a one-sided contract were unconscionable, but the result was again a simple money

judgment. Clearly, a small claims court empowered to hear claims for money based in contract

must be able to evaluate the enforceability of a contract to decide such claims. Critically, not one

of these cases involved a situation where any party contended that small claims jurisdiction was

lacking, or where any court, even in dicta, made a determination regarding such jurisdiction. None

of Defendants’ authority supports reconsideration here.

       Nor is Defendants’ attempt to reconcile Hill v. Abou-Jabal, 2019 IL App (5th) 180213-U,

with Dew-Becker v. Andrew Wu, 2017 IL App (1st) 161383-U, convincing. Critically, the remedy

sought and addressed by the court in Hill was entirely monetary – “the plaintiff, a consumer, was

seeking recovery for economic damages that he suffered.” Hill, 2019 IL App (5th) 180213-U, ¶



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20. Similarly, in Italia Foods, Inc. v. Sun Tours, Inc., 2011 IL 110350, which Defendants claim

“bolsters” Hill, the Illinois Supreme court discussed small claims court only with respect to a

statutory action “to recover damages,” and then only in dicta. Id. at ¶¶26-27. Accordingly, neither

Hill nor Italia Foods stands for the proposition that small claims court is an adequate forum for an

aggrieved consumer seeking broad, forward-looking statutory injunctive relief.

                                      CONCLUSION

       This Court correctly rejected Defendants’ arguments in its original Order, and Defendant

offers nothing new now. Defendants’ motion for reconsideration should be denied in its entirety.

Dated: July 6, 2023                                  Respectfully submitted,
                                                     /s/ Jonathan Gardner
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